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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                   *    MDL NO. 1873
       FORMALDEHYDE PRODUCTS                          *
       LIABILITY LITIGATION                           *    SECTION “N” (5)
                                                      *
                                                      *    JUDGE ENGELHARDT
                                                      *    MAGISTRATE CHASEZ
                                                      *
THIS DOCUMENT IS RELATED TO:                          *
                                                      *
Shepherd, et al., v. Gulf Stream Coach, Inc. et al.,  *
EDLA Case No. 09-6879
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                    PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL


       Plaintiffs, Jeanette Shepherd and Anthony Woods, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby gives notice of their dismissal of claims without prejudice against

Defendants Shaw Environmental, Inc., and CH2M Hill Constructors, Inc., only. This dismissal

does not affect their claims against the remaining defendants, Gulf Stream Coach, Inc., and Fluor

Enterprises, Inc.

                                     Respectfully submitted:
                                     FEMA TRAILER FORMALDEHYDE
                                     PRODUCT LIABILITY LITIGATION

                                     BY:    s/Gerald E. Meunier
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                                            s/Justin I. Woods
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                                            COURT-APPOINTED PLAINTIFFS’
                                            STEERING COMMITTEE
                                            ANTHONY BUZBEE, Texas # 24001820
                                            ROBERT BECNEL, #14072
                                            RAUL BENCOMO, #2932
                                            FRANK D’AMICO, #17519
                                            MATT MORELAND, #24567
                                            LINDA NELSON, #9938
                                            DENNIS REICH, Texas # 167396
                                            MIKAL WATTS, Texas # 20981820


                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.

                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471




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